                                           Case 4:21-cv-06475-PJH Document 3 Filed 10/01/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     AUNDRA BURNETT JACKSON,                           Case No. 21-cv-06475-PJH
                                                         Plaintiff,
                                   8
                                                                                           ORDER OF DISMISSAL
                                                  v.
                                   9

                                  10     IRS,
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Plaintiff, a Texas state prisoner proceeding pro se, filed a civil action. Plaintiff was

                                  14   sent a notice that he had not paid the filing fee or submitted a complete application for

                                  15   leave to proceed in forma pauperis (“IFP”). He was provided twenty-eight days to correct

                                  16   these deficiencies. More than twenty-eight days has passed, and plaintiff has not paid

                                  17   the fee, filed a complete application to proceed IFP or otherwise communicated with the

                                  18   court. The case is DISMISSED without prejudice.

                                  19            IT IS SO ORDERED.

                                  20   Dated: October 1, 2021

                                  21

                                  22                                                               /s/ Phyllis J. Hamilton
                                                                                                  PHYLLIS J. HAMILTON
                                  23                                                              United States District Judge
                                  24

                                  25

                                  26

                                  27

                                  28
